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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


ODERIA BRIDGES,                          )
                                         )
                                         )
individually and on behalf of all others )
similarly situated,                      )
                                         ) CIVIL ACTION FILE NO.
                                         )
                 Plaintiff,              )
                                         )
                     v.                  )
                                         )
                                         ) DEMAND FOR JURY TRIAL
AR RESOURCES, INC., and                  )
                                         )
JOHN DOES 1-25,                          )
                                         )
                                         )
                Defendant(s).            )
_______________________________

                         CLASS ACTION COMPLAINT

      Plaintiff Oderia Bridges (“Plaintiff" or “Bridges”) by and through her

attorneys, and for her Class Action Complaint against Defendant AR Resources,

Inc. (“ARR”), individually and on behalf of a class of all others similarly situated,

pursuant to Rule 23 of the Federal Rules of Civil Procedure, respectfully sets forth,

complains and alleges, upon information and belief, the following:

                         JURISDICTION AND VENUE




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1.   The Court has jurisdiction over this matter and class pursuant to 28 U.S.C. §

     1331 and 15 U.S.C. § 1692 et. seq. The Court also has pendent jurisdiction

     over any State law claims in this action pursuant to 28 U.S.C. § 1367(a).

2.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2)

     being that the acts and transactions occurred here, Plaintiff resides here, and

     Defendant transacts business here.

3.   Plaintiff brings this class action on behalf of a class of Georgia consumers

     for damages and declaratory and injunctive relief arising from the

     Defendant’s violations of § 1692 et seq. of Title 15 of the United States

     Code, also known as the Fair Debt Collections Practices Act (“FDCPA”).

                                        PARTIES

4.   Plaintiff is a resident of the State of Georgia, residing in the County of

     Fulton.

5.   At all times material hereto, Defendant AR Resources, Inc., was a “debt

     collector” as the phrase is defined in 15 U.S.C. § 1692(a)(6) and conducts

     substantial and regular business activities in this judicial district. Defendant

     ARR is a Pennsylvania corporation and may be served with process upon

     Hamburg, Rubin, Mullin, Maxwell & Lupin PC, its registered agent for

     service of process, at 375 Morris Road, Lansdale, PA 19446.

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6.   Upon information and belief, ARR is a company that uses the mail,

     telephone, and facsimile and regularly engages in business the principal

     purpose of which is to attempt to collect debts alleged to be due another.

7.   John Does 1-25, are fictitious names of individuals and businesses alleged

     for the purpose of substituting names of Defendants whose identities will be

     disclosed in discovery and should be made parties to this action.

                                CLASS ALLEGATIONS

8.   Plaintiff brings this claim on behalf of the following case, pursuant to Fed.

     R. Civ. P. 23(a) and 23(b)(3).

9.   The Class consists of:

         a. all individuals with addresses in the State of Georgia;

         b. to whom Defendant ARR sent an initial collection letter;

         c. attempting to collect a consumer debt;

         d. threatening harm to the consumer’s credit report if the consumer does

            not contact ARR; and

         e. without a timeframe for when that contact must occur;

         f. which letter was sent on or after a date one (1) year prior to the filing

            of this action and on or before a date twenty-one (2l) days after the

            filing of this action.


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10. The identities of all class members are readily ascertainable from the records

    of Defendants and those companies and entities on whose behalf they

    attempt to collect and/or have purchased debts.

11. Excluded from the Plaintiff Classes are the Defendants and all officer,

    members, partners, managers, directors and employees of the Defendants

    and their respective immediate families, and legal counsel for all parties to

    this action, and all members of their immediate families.

12. There are questions of law and fact common to the Plaintiff Class, which

    common issues predominate over any issues involving only individual class

    members. The principal issue is whether the Defendants' written

    communications to consumers, in the forms attached as Exhibit A, violate 15

    U.S.C. §§ 1692e, 1692f and 1692g.

13. The Plaintiff’s claims are typical of the class members, as all are based upon

    the same facts and legal theories. The Plaintiff will fairly and adequately

    protect the interests of the Plaintiff Class defined in this complaint. The

    Plaintiff has retained counsel with experience in handling consumer

    lawsuits, complex legal issues, and class actions, and neither the Plaintiff nor

    her attorneys have any interests, which might cause them not to vigorously

    pursue this action.


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14. This action has been brought, and may properly be maintained, as a class

    action pursuant to the provisions of Rule 23 of the Federal Rules of Civil

    Procedure because there is a well-defined community interest in the

    litigation:

        a. Numerosity: The Plaintiff is informed and believes, and on that basis

            alleges, that the Plaintiff Class defined above is so numerous that

            joinder of all members would be impractical.

        b. Common Questions Predominate: Common questions of law and

            fact exist as to all members of the Plaintiff Class and those questions

            predominate over any questions or issues involving only individual

            class members. The principal issue is whether the Defendants' written

            communications to consumers, in the form attached as Exhibit A

            violate 15 U.S.C. § 1692e and §1692f and § 1692g.

        c. Typicality: The Plaintiff’s claims are typical of the claims of the

            class members. The Plaintiff and all members of the Plaintiff Class

            have claims arising out of the Defendants' common uniform course of

            conduct complained of herein.

        d. Adequacy: The Plaintiff will fairly and adequately protect the

            interests of the class members insofar as Plaintiff has no interests that


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            are adverse to the absent class members. The Plaintiff is committed

            to vigorously litigating this matter. Plaintiff has also retained counsel

            experienced in handling consumer lawsuits, complex legal issues,

            and class actions. Neither the Plaintiff nor her counsel have any

            interests which might cause them not to vigorously pursue the instant

            class action lawsuit.

        e. Superiority: A class action is superior to the other available means

            for the fair and efficient adjudication of this controversy because

            individual joinder of all members would be impracticable. Class

            action treatment will permit a large number of similarly situated

            persons to prosecute their common claims in a single forum

            efficiently and without unnecessary duplication of effort and expense

            that individual actions would engender.

15. Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil

    Procedure is also appropriate in that the questions of law and fact common

    to members of the Plaintiff Class predominate over any questions affecting

    an individual member, and a class action is superior to other available

    methods for the fair and efficient adjudication of the controversy.




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16. Depending on the outcome of further investigation and discovery, Plaintiff

    may, at the time of class certification motion, seek to certify a class(es) only

    as to particular issues pursuant to Fed. R. Civ. P. 23(c)(4).

                             FACTUAL ALLEGATIONS


17. Plaintiff repeats the allegations contained in the above paragraphs as if set

    forth here.

18. Some time prior to March 13, 2020, Defendant allegedly incurred a debt to

    Atlantic Cod Emergency Physicians in the amount of $995.00.

19. The alleged obligation arose out of a transaction involving an alleged debt

    incurred by Plaintiff in which money, property, insurance or services, which

    are the subject of the transaction, were primarily for personal, family or

    household purposes, to wit, personal medical services.

20. The alleged obligation is a "debt" as defined by 15 U.S.C. § 1692a (5).

21. The owner of the alleged obligation is a "creditor" as defined by 15 U.S.C. §

    1692a (4).

22. On information and belief, Defendant collects and attempts to collect debts

    incurred or alleged to have been incurred for personal, family or household




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     purposes on behalf of creditors using the United States Postal Services,

     telephone and internet.

                      Violation – March 13, 2020 Collection Letter

23. On or about March 13, 2020, Defendant sent Plaintiff an initial collection

     letter regarding a debt allegedly owed to Atlantic Cod Emergency

     Physicians. A true copy of the Letter is attached as Exhibit A.

24. The letter included the notices required in an initial collection letter pursuant

     to 15 U.S.C. § 1692g allowing Plaintiff thirty days to dispute the debt.

25. However, the letter offers a settlement that “may be canceled at any time”

     i.e., even prior to thirty days.

26. This language overshadows the required § 1692g thirty-day period during

     which the consumer may dispute the debt, as it forces the consumer to

     choose to immediately settle before properly considering the ability to

     dispute the debt.

27. The letter further provides that “Your credit report may have a negative

     impact if we do not hear from you”.

28. No date is given by when the consumer’s credit will be harmed, nor is a

     deadline given for when the required contact must occur to prevent the harm.




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29. The implication is that the consumer’s credit may be harmed prior to the

    completion of the consumer’s thirty-day window of time to dispute the

    alleged debt pursuant to 15 U.S.C. § 1692g.

30. After stating “[t]his settlement offer may be canceled at any time”, the letter

    further states, “[t]o avoid missing this opportunity, please remit your

    payment directly to [us] or call us…”.

31. This urgent demand for the consumer to immediately call in to avoid harm,

    i.e., before “this settlement offer may be canceled”, pressures the consumer

    to call in and pay rather than dispute the debt.

32. The § 1692g notice is overshadowed by the threats and demands for

    immediate action elsewhere in the letter.

33. As a result of Defendant’s deceptive, misleading, and unfair debt collection

    practices, Plaintiff has been damaged.

                         FIRST CAUSE OF ACTION
             (Violations of the FDCPA 15 U.S.C. §1692e et seq.)

34. Plaintiff incorporates by reference paragraphs 1-33 of this Complaint as if

    fully stated here.




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 35. Defendant’s debt collection efforts attempted and/or directed towards the

      Plaintiff violated various provisions of the FDCPA, including but not limited

      to 15 U.S.C. § 1692e.

 36. Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false,

      deceptive, or misleading representation or means in connection with the

      collection of any debt.

 37. Defendant violated said section by:

          a. Making a deceptive and misleading representation in violation of

             §1692e (10) in implying that contact with Plaintiff is required prior to

             the expiration of the legally required thirty days to dispute the debt;

             and

          b. Threatening potentially immediate harm to the consumer’s credit

             report.

      WHEREFORE, Plaintiff, Oderia Bridges, an individual, and on behalf on

the class, demands judgment in her favor against Defendant, ARR, for actual

damages together statutory damages, attorney’s fees, and court costs pursuant to 15

U.S.C. § 1692e et seq.

                         SECOND CAUSE OF ACTION
              (Violations of the FDCPA 15 U.S.C. §1692f et seq.)



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38. Plaintiff incorporates by reference paragraphs 1-33 of this Complaint as if

    fully stated here.

39. Defendant’s debt collection efforts attempted and/or directed towards the

    Plaintiff violated various provisions of the FDCPA, including but not limited

    to 15 U.S.C. § 1692f.

40. Pursuant to 15 U.S.C. §1692f, a debt collector may not use any unfair or

    unconscionable means in connection with the collection of any debt.

41. Defendant violated this section by implying that contact with Plaintiff is

    required and threatening potentially immediate harm to the consumer’s

    credit report prior to the expiration of the legally required thirty days to

    dispute the debt.

    WHEREFORE, Plaintiff, Oderia Bridges, an individual, and on behalf on

the class, demands judgment in her favor against Defendant, ARR, for actual

damages together statutory damages, attorney’s fees, and court costs pursuant to

15 U.S.C. § 1692f et seq.

                         THIRD CAUSE OF ACTION
             (Violations of the FDCPA 15 U.S.C. §1692g et seq.)

42. Plaintiff incorporates by reference paragraphs 1-33 of this Complaint as if

    fully stated here.

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43. Defendant’s debt collection efforts attempted and/or directed towards the

    Plaintiff violated various provisions of the FDCPA, including but not limited

    to 15 U.S.C. § 1692g.

44. When a debt collector solicits payment from a consumer, it must, within five

    days of an initial communication provide the consumer with written notice

    of:

          (1) the amount of the debt;

          (2) the name of the creditor to whom the debt is owed;

          (3) a statement that unless the consumer, within thirty days after receipt

          of the notice, disputes the validity of the debt, or any portion thereof, the

          debt will be assumed to be valid by the debt collector;

          (4) a statement that if the consumer notifies the debt collector in writing

          within the thirty-day period that the debt, or any portion thereof, is

          disputed, the debt collector will obtain verification of the debt or a copy

          of the judgment against the consumer and a copy of such verification or

          judgment will be mailed to the consumer by the debt collector; and

          (5) a statement that, upon the consumer's written request within the

          thirty-day period, the debt collector will provide the consumer with the




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          name and address of the original creditor, if different from the current

          creditor. 15 U.S.C. § 1692g(a).

 45. The Defendant violated 15 U.S.C. §1692g, by:

          a. implying that contact with Plaintiff is required immediately and

             threatening immediate harm to the consumer’s credit report prior to

             the expiration of the legally required thirty days to dispute the debt,

             which overshadows the §1692g language and coerces the consumer

             not to exert her rights under the FDCPA; and

          b. giving a settlement offer that could expire anytime, including within

             the first 30 days of receipt of the letter.

 46. By reason thereof, Defendant is liable to Plaintiff for judgment that

      Defendant's conduct violated Section 1692g et seq. of the FDCPA, actual

      damages, statutory damages, costs and attorneys’ fees.

   WHEREFORE, Plaintiff, Oderia Bridges, an individual, and on behalf on the

class, demands judgment in her favor against Defendant, ARR, for actual damages

together statutory damages, attorney’s fees, and court costs pursuant to 15 U.S.C.

§ 1692g et seq.




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                          DEMAND FOR TRIAL BY JURY

 47. Plaintiff demands and hereby respectfully requests a trial by jury for all

      claims and issues this complaint to which Plaintiff is or may be entitled to a

      jury trial.


                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, demands judgment from the Defendants as follows:

         a. Declaring that this action is properly maintainable as a Class Action

             and certifying Plaintiff as Class representative, and Misty Oaks

             Paxton, Esq. as Class Counsel;

         b. Awarding Plaintiff and the Class statutory damages;

         c. Awarding Plaintiff and the Class actual damages;

         d. Awarding Plaintiff costs of this Action, including reasonable

             attorneys’ fees and expenses;

         e. Awarding pre-judgment interest and post-judgment interest; and




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         f. Awarding Plaintiff and the Class such other and further relief, as well

            as further costs, expenses and disbursements of this action, as this

            Court may deem just and proper.



Dated:      September 29, 2020                     Respectfully Submitted,

                                                   /s/ Misty Oaks Paxton
                                                   By: Misty Oaks Paxton, Esq.
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                                                   Attorney for Plaintiff




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